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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

       v.
                                                          Case No. 19-cr-10080-NMG
DAVID SIDOO, et al.,

              Defendants.


DEFENDANTS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT FOR
 THEIR RESPONSE TO THE GOVERNMENT’S SUR-REPLY IN OPPOSITION TO
   DEFENDANTS’ MOTION REGARDING GOVERNMENTAL MISCONDUCT

       Defendants1 respectfully request an extension of the page limit—by two pages—for their

response to the Government’s sur-reply in opposition to their motion regarding governmental

misconduct (ECF No. 971). Defendants seek two extra pages so that they can properly respond to

the Government’s sur-reply and the six exhibits it filed with that sur-reply (ECF Nos. 1104 to

1104-6).

       1.     On April 17, 2020, this Court ordered that Defendants were permitted to submit a

five-page response to the Government’s ten-page sur-reply on or before May 1, 2020. ECF No.

1085 at 3.

       2.     On April 24, 2020, the Government filed its sur-reply and six exhibits. See ECF

Nos. 1104 to 1104-6. With the exhibits, the Government’s filing spans 49 pages. See id.

       3.     To properly respond to the Government’s filing—which contains extensive factual

material not contained in its opposition—Defendants seek permission to file a seven-page, rather



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           Counsel for Defendants Gamal Abdelaziz, Diane Blake, Todd Blake, I-Hsen “Joey”
Chen, Amy Colburn, Gregory Colburn, Elisabeth Kimmel, William McGlashan, Jr., Marci
Palatella, John Wilson, Robert Zangrillo, and Homayoun Zadeh have indicated to undersigned
counsel that they join in the relief requested in this motion.
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than a five-page, response. Defendants recognize that the briefing on their misconduct motion has

already been voluminous, and Defendants would not make this request if they did not believe the

additional two pages were necessary to properly respond to the Government’s submission and for

Defendants’ response to be helpful to the Court.

       4.     Undersigned counsel has conferred with counsel for the Government about this

request. The Government does not oppose Defendants’ request.

       Defendants thus respectfully request that the Court grant this motion and permit them to

file a seven-page response to the Government’s sur-reply.


Dated: April 30, 2020                                  Respectfully submitted,

                                                       /s/ William J. Trach
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                         LOCAL RULE 7.1(a)(2) CERTIFICATION

       I certify that I conferred with counsel for the Government in an attempt to resolve or narrow

the issues raised in this motion. The Government does not oppose this motion.


                                                             /s/ William J. Trach
                                                             William J. Trach


                                CERTIFICATE OF SERVICE

       I certify that this document was filed with the Court through the CM/ECF system, that

notice will be sent electronically to all registered participants as identified on the Notice of

Electronic Filing, and that paper copies will be sent to those identified as non-registered

participants.


                                                             /s/ William J. Trach
                                                             William J. Trach
